 Case 25-40054           Doc 14          Filed 03/20/25 Entered 03/20/25 10:16:04     Desc Main
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   FILED & JUDGMENT ENTERED
         Christine F. Winchester


            March 20 2025


     Clerk, U.S. Bankruptcy Court
    Western District of North Carolina
                                                                        _____________________________
                                                                              Ashley Austin Edwards
                                                                          United States Bankruptcy Judge




              IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA

IN RE: Michael Justin Scott                        )
                                                   )
                                                   )
                                                   )     Case No: 25-40054
                                                   )
                                                   )     Chapter 7
                           Debtor(s).              )
                                                   )


    ORDER GRANTING APPLICATION FOR WAIVER OF CHAPTER 7
                        FILING FEE

Upon consideration of the debtor(s)’ Application for Waiver of the Chapter 7 Filing Fee,
the court orders that the application be GRANTED.

This order is subject to being vacated at a later time if developments in the
administration of the bankruptcy case demonstrate that the waiver was unwarranted.


This Order has been signed                                     United States Bankruptcy Court
electronically. The judge’s
signature and court’s seal
appear at the top of the Order.
